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 5
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 6   LAMAR MYERS
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     LAMAR MYERS,                               Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   DAVID GALLEGOS, AS TRUSTEE OF              ACT, 42 U.S.C. §12131 et seq.;
15   THE DAVID GALLEGOS AND                     2. CALIFORNIA’S UNRUH CIVIL
     ROGELIA GALLEGOS FAMILY                    RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
     TRUST; and DOES 1 through 10,
17                Defendants.                   3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24
25         Plaintiff LAMAR MYERS (“Plaintiff”) complains of Defendants DAVID
26   GALLEGOS, AS TRUSTEE OF THE DAVID GALLEGOS AND ROGELIA
27   GALLEGOS FAMILY TRUST; and DOES 1 through 10 (“Defendants”) and alleges as
28   follows:



                                   COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk due to a spinal cord injury. Plaintiff requires the use of a
14   wheelchair at all times when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for DAYRO MARKET
17   (“Business”) located at or about 4524 Marine Ave., Lawndale, CA 90260, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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                                    COMPLAINT FOR DAMAGES - 2
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     On or about March 11, 2020, Plaintiff went to the Business. On or about
 9   April 13, 2020, Plaintiff returned to the Business. The Business is a grocery store
10   business establishment, which is open to the public, is a place of public accommodation
11   and affects commerce through its operation.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide the parking space identification sign with the
20                       International Symbol of Accessibility.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to post required signage such as “Van Access,” “Minimum Fine
24                       $250” or “Unauthorized Parking.”
25                c.     Defendants failed to maintain the parking space designated for
26                       persons with disabilities to comply with the federal and state
27                       standards. Defendants failed to paint the ground as required.
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                                   COMPLAINT FOR DAMAGES - 3
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 1                d.     Defendants failed to maintain the parking space designated for
 2                       persons with disabilities to comply with the federal and state
 3                       standards. Defendants failed to provide the access aisles with level
 4                       surface slopes.
 5         11.    These barriers and conditions denied Plaintiff the full and equal access to the
 6   Business. Plaintiff wishes to patronize the Business again as it is conveniently located
 7   for Plaintiff. However, Plaintiff is deterred from visiting the Business because his
 8   knowledge of these violations prevents him from returning until the barriers are removed.
 9         12.    Based on the violations, Plaintiff alleges, on information and belief, that
10   there are additional barriers to accessibility at the Business after further site inspection.
11   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
12   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
13         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
14   knew that particular barriers render the Business inaccessible, violate state and federal
15   law, and interfere with access for the physically disabled.
16         14.    At all relevant times, Defendants had and still have control and dominion
17   over the conditions at this location and had and still have the financial resources to
18   remove these barriers without much difficulty or expenses to make the Business
19   accessible to the physically disabled in compliance with ADDAG and Title 24
20   regulations. Defendants have not removed such barriers and have not modified the
21   Business to conform to accessibility regulations.
22                                   FIRST CAUSE OF ACTION
23       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
24         15.    Plaintiff incorporates by reference each of the allegations in all prior
25   paragraphs in this complaint.
26         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
27   shall be discriminated against on the basis of disability in the full and equal enjoyment of
28   the goods, services, facilities, privileges, advantages, or accommodations of any place of



                                     COMPLAINT FOR DAMAGES - 4
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 1   public accommodation by any person who owns, leases, or leases to, or operates a place
 2   of public accommodation. See 42 U.S.C. § 12182(a).
 3         17.   Discrimination, inter alia, includes:
 4               a.    A failure to make reasonable modification in policies, practices, or
 5                     procedures, when such modifications are necessary to afford such
 6                     goods, services, facilities, privileges, advantages, or accommodations
 7                     to individuals with disabilities, unless the entity can demonstrate that
 8                     making such modifications would fundamentally alter the nature of
 9                     such goods, services, facilities, privileges, advantages, or
10                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11               b.    A failure to take such steps as may be necessary to ensure that no
12                     individual with a disability is excluded, denied services, segregated or
13                     otherwise treated differently than other individuals because of the
14                     absence of auxiliary aids and services, unless the entity can
15                     demonstrate that taking such steps would fundamentally alter the
16                     nature of the good, service, facility, privilege, advantage, or
17                     accommodation being offered or would result in an undue burden. 42
18                     U.S.C. § 12182(b)(2)(A)(iii).
19               c.    A failure to remove architectural barriers, and communication barriers
20                     that are structural in nature, in existing facilities, and transportation
21                     barriers in existing vehicles and rail passenger cars used by an
22                     establishment for transporting individuals (not including barriers that
23                     can only be removed through the retrofitting of vehicles or rail
24                     passenger cars by the installation of a hydraulic or other lift), where
25                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26               d.    A failure to make alterations in such a manner that, to the maximum
27                     extent feasible, the altered portions of the facility are readily
28                     accessible to and usable by individuals with disabilities, including



                                  COMPLAINT FOR DAMAGES - 5
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 1                      individuals who use wheelchairs or to ensure that, to the maximum
 2                      extent feasible, the path of travel to the altered area and the
 3                      bathrooms, telephones, and drinking fountains serving the altered
 4                      area, are readily accessible to and usable by individuals with
 5                      disabilities where such alterations to the path or travel or the
 6                      bathrooms, telephones, and drinking fountains serving the altered
 7                      area are not disproportionate to the overall alterations in terms of cost
 8                      and scope. 42 U.S.C. § 12183(a)(2).
 9         18.    Where parking spaces are provided, accessible parking spaces shall be
10   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14   be van parking space. 2010 ADA Standards § 208.2.4.
15         19.    Under the ADA, the method and color of marking are to be addressed by
16   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17   Building Code (“CBC”), the parking space identification signs shall include the
18   International Symbol of Accessibility. Parking identification signs shall be reflectorized
19   with a minimum area of 70 square inches. Additional language or an additional sign
20   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21   parking space identification sign shall be permanently posted immediately adjacent and
22   visible from each parking space, shall be located with its centerline a maximum of 12
23   inches from the centerline of the parking space and may be posted on a wall at the
24   interior end of the parking space. See CBC § 11B-502.6, et seq.
25         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
26   each entrance to an off-street parking facility or immediately adjacent to on-site
27   accessible parking and visible from each parking space. The additional sign shall not be
28   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



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 1   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2   designated accessible spaces not displaying distinguishing placards or special license
 3   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4   See CBC § 11B-502.8, et seq.
 5         21.    Here, Defendants failed to provide the parking space identification sign with
 6   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
 7   stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
 8   provide the additional sign with the specific languages stating “Unauthorized vehicles
 9   parked in designated accessible spaces not displaying distinguishing placards or special
10   license plates issued for persons with disabilities will be towed always at the owner’s
11   expense…”
12         22.    For the parking spaces, access aisles shall be marked with a blue painted
13   borderline around their perimeter. The area within the blue borderlines shall be marked
14   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
15   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
16   be painted on the surface within each access aisle in white letters a minimum of 12 inches
17   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
18   11B-502.3.3.
19         23.    Here, Defendants failed to properly maintain the access aisles as there was
20   no “NO PARKING” painted on the parking surface.
21         24.    Under the 1991 Standards, parking spaces and access aisles must be level
22   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
23   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
24   shall be part of an accessible route to the building or facility entrance and shall comply
25   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
26   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
27   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
28   directions. 1991 Standards § 4.6.3.



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 1         25.    Here, the access aisles are not level with the parking spaces. Under the 2010
 2   Standards, access aisles shall be at the same level as the parking spaces they serve.
 3   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 4   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 5   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. Moreover,
 6   there were contraction joints that created an uneven surface.
 7         26.    A public accommodation shall maintain in operable working condition those
 8   features of facilities and equipment that are required to be readily accessible to and usable
 9   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
10   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
11   violation of Plaintiff’s rights under the ADA and its related regulations.
12         27.    The Business has denied and continues to deny full and equal access to
13   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14   discriminated against due to the lack of accessible facilities, and therefore, seeks
15   injunctive relief to alter facilities to make such facilities readily accessible to and usable
16   by individuals with disabilities.
17                                SECOND CAUSE OF ACTION
18                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19         28.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraph in this complaint.
21         29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
22   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23   national origin, disability, medical condition, genetic information, marital status, sexual
24   orientation, citizenship, primary language, or immigration status are entitled to the full
25   and equal accommodations, advantages, facilities, privileges, or services in all business
26   establishments of every kind whatsoever.”
27         30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



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 1   for each and every offense for the actual damages, and any amount that may be
 2   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5   person denied the rights provided in Section 51, 51.5, or 51.6.
 6         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8   shall also constitute a violation of this section.”
 9         32.    The actions and omissions of Defendants alleged herein constitute a denial
10   of full and equal accommodation, advantages, facilities, privileges, or services by
11   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13   51 and 52.
14         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16   damages as specified in California Civil Code §55.56(a)-(c).
17                                  THIRD CAUSE OF ACTION
18                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19         34.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22   entitled to full and equal access, as other members of the general public, to
23   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28   places of public accommodations, amusement, or resort, and other places in which the



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 1   general public is invited, subject only to the conditions and limitations established by
 2   law, or state or federal regulation, and applicable alike to all persons.
 3         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4   corporation who denies or interferes with admittance to or enjoyment of public facilities
 5   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7   the actual damages, and any amount as may be determined by a jury, or a court sitting
 8   without a jury, up to a maximum of three times the amount of actual damages but in no
 9   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10   determined by the court in addition thereto, suffered by any person denied the rights
11   provided in Section 54, 54.1, and 54.2.
12         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
13   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14   constitute a violation of this section, and nothing in this section shall be construed to limit
15   the access of any person in violation of that act.
16         38.    The actions and omissions of Defendants alleged herein constitute a denial
17   of full and equal accommodation, advantages, and facilities by physically disabled
18   persons within the meaning of California Civil Code § 54. Defendants have
19   discriminated against Plaintiff in violation of California Civil Code § 54.
20         39.    The violations of the California Disabled Persons Act caused Plaintiff to
21   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22   statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                FOURTH CAUSE OF ACTION
24                                UNFAIR COMPETITION ACT
25         40.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
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                                   COMPLAINT FOR DAMAGES - 10
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 1          41.    Defendants have engaged in unfair competition, unfair or fraudulent
 2   business practices, and unfair, deceptive, untrue or misleading advertising in violation of
 3   the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
 4          42.    Defendants engage in business practices and policies that create systemic
 5   barriers to full and equal access for people with disability in violation of state and federal
 6   law.
 7          43.    The actions and omissions of Defendants are unfair and injurious to
 8   Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 9   unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
10   provided with goods and services provided to other consumers. Plaintiff seeks relief
11   necessary to prevent Defendants’ continued unfair business practices and policies and
12   restitution of any month that Defendants acquired by means of such unfair competition,
13   including profits unfairly obtained.
14                                   FIFTH CAUSE OF ACTION
15                                          NEGLIGENCE
16          44.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18          45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20   to the Plaintiff.
21          46.    Defendants breached their duty of care by violating the provisions of ADA,
22   Unruh Civil Rights Act and California Disabled Persons Act.
23          47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24   has suffered damages.
25                                     PRAYER FOR RELIEF
26          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27   Defendants as follows:
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                                   COMPLAINT FOR DAMAGES - 11
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 1         1.     For preliminary and permanent injunction directing Defendants to comply
 2   with the Americans with Disability Act and the Unruh Civil Rights Act;
 3         2.     Award of all appropriate damages, including but not limited to statutory
 4   damages, general damages and treble damages in amounts, according to proof;
 5         3.     Award of all reasonable restitution for Defendants’ unfair competition
 6   practices;
 7         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8   action;
 9         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10         6.     Such other and further relief as the Court deems just and proper.
11                              DEMAND FOR TRIAL BY JURY
12         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
13   demands a trial by jury on all issues so triable.
14
15   Dated: August 13, 2020                  SO. CAL. EQUAL ACCESS GROUP
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17
18                                           By:   _/s/ Jason J. Kim___________
                                                   Jason J. Kim, Esq.
19                                           Attorneys for Plaintiff
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                                   COMPLAINT FOR DAMAGES - 12
